       Case 4:23-cr-00018-RH-MAF           Document 31        Filed 08/29/23      Page 1 of 8
                                                                                                Page 1 of 8



                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF FLORIDA
                                  TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

-vs-                                                  Case # 4:23cr18-01

LENTON JEROME HATTEN
                                                      USM # 52849-510

                                                      Defendant’s Attorney:
                                                      R. Timothy Jansen (Retained)
                                                      1206 North Duval Street
                                                      Tallahassee, FL 32303
___________________________________

                               JUDGMENT IN A CRIMINAL CASE

The defendant pleaded guilty to count 1 of the indictment on May 25, 2023. Accordingly, IT IS
ORDERED that the defendant is adjudged guilty of such count which involves the following
offense:



             TITLE/SECTION               NATURE OF             DATE OFFENSE              COUNT
                NUMBER                    OFFENSE               CONCLUDED



 18 U.S.C. § 2243(b)                 Sexual Abuse of a           August 9, 2022             1
                                     Ward

The defendant is sentenced as provided in the following pages of this judgment. The sentence
is imposed pursuant to the Sentencing Reform Act of 1984.

It is ordered that the defendant shall notify the United States attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant must notify the court and United States attorney of material changes in economic
circumstances.


                                       Date of Imposition of Sentence:
                                       August 24, 2023


                                       s/Robert L. Hinkle
                                       August 29, 2023




Case No. 4:23cr18-01
       Case 4:23-cr-00018-RH-MAF     Document 31     Filed 08/29/23   Page 2 of 8
                                                                                  Page 2 of 8



                                   IMPRISONMENT

     The defendant is hereby committed to the custody of the United States
Bureau of Prisons to be imprisoned for a term of 3 months.

          The Court recommends to the Bureau of Prisons:

          The defendant is a former Bureau of Prisons correctional officer
          who worked for substantial periods at FCI Marianna and FDC
          Tallahassee. He should not be designated to or held at either of
          those facilities. He should be separated from inmates he
          supervised to the extent feasible. Despite the offense of
          conviction, placement in a camp may be appropriate.

The defendant shall surrender for service of sentence at the institution designated
by the Bureau of Prisons before 2:00 p.m. on October 24, 2023.

                                      RETURN

I have executed this judgment as follows:
____________________________________________________________________________

____________________________________________________________________________


Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this

judgment.

                                  __________________________________
                                  UNITED STATES MARSHAL


                                  By:__________________________________
                                        Deputy United States Marshal




Case No. 4:23cr18-01
       Case 4:23-cr-00018-RH-MAF           Document 31      Filed 08/29/23     Page 3 of 8
                                                                                         Page 3 of 8




                                    SUPERVISED RELEASE

        Upon release from imprisonment, the defendant shall be on supervised release for a
term of 5 years.

                                   MANDATORY CONDITIONS

          1. You must not commit another federal, state, or local crime.
          2. You must not unlawfully possess a controlled substance.
          3. You must refrain from any unlawful use of a controlled substance. You must submit
             to one drug test within 15 days of release from imprisonment and at least two
             periodic drug tests thereafter, as determined by the court.
          4. The above drug testing condition is suspended, based on the court’s determination
             that you pose a low risk of future substance abuse.
          5. You must cooperate in the collection of DNA as directed by the probation officer.
          6. You must comply with requirements of the Sex Offender Registration and Notification
             Act (42 U.S.C. § 16901, et seq.) as directed by the probation officer, the Bureau of
             Prisons, or any state sex offender registration agency in the location where you
             reside, work, are a student, or were convicted of a qualifying offense.

        You must comply with the standard conditions that have been adopted by this court as
well as with any other conditions on the attached page.




Case No. 4:23cr18-01
       Case 4:23-cr-00018-RH-MAF            Document 31         Filed 08/29/23      Page 4 of 8
                                                                                                Page 4 of 8



                        STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of
supervision. These conditions are imposed because they establish the basic expectations for
your behavior while on supervision and identify the minimum tools needed by probation officers
to keep informed, report to the court about, and bring about improvements in your conduct and
condition.

1.       You must report to the probation office in the federal judicial district where you are
authorized to reside within 72 hours of your release from imprisonment, unless the probation
officer instructs you to report to a different probation office or within a different time frame.
2.       After initially reporting to the probation office, you will receive instructions from the court
or the probation officer about how and when you must report to the probation officer, and you
must report to the probation officer as instructed.
3.       You must not knowingly leave the federal judicial district where you are authorized to
reside without first getting permission from the court or the probation officer.
4.       You must answer truthfully the questions asked by your probation officer.
5.       You must live at a place approved by the probation officer. If you plan to change where
you live or anything about your living arrangements (such as the people you live with), you must
notify the probation officer at least 10 days before the change. If notifying the probation officer in
advance is not possible due to unanticipated circumstances, you must notify the probation
officer within 72 hours of becoming aware of a change or expected change.
6.       You must allow the probation officer to visit you at any time at your home or elsewhere,
and you must permit the probation officer to take any items prohibited by the conditions of your
supervision that he or she observes in plain view.
7.       You must work full time (at least 30 hours per week) at a lawful type of employment,
unless the probation officer excuses you from doing so. If you do not have full-time employment
you must try to find full-time employment, unless the probation officer excuses you from doing
so. If you plan to change where you work or anything about your work (such as your position or
your job responsibilities), you must notify the probation officer at least 10 days before the
change. If notifying the probation officer at least 10 days in advance is not possible due to
unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
aware of a change or expected change.
8.       You must not communicate or interact with someone you know is engaged in criminal
activity. If you know someone has been convicted of a felony, you must not knowingly
communicate or interact with that person without first getting the permission of the probation
officer.
9.       If you are arrested or questioned by a law enforcement officer, you must notify the
probation officer within 72 hours.
10.      You must not own, possess, or have access to a firearm, ammunition, destructive
device, or dangerous weapon (i.e., anything that was designed, or was modified for, the specific
purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.      You must not act or make any agreement with a law enforcement agency to act as a
confidential human source or informant without first getting the permission of the court.
12.      If the probation officer determines that you pose a risk to another person (including an
organization), the probation officer may require you to notify the person about the risk and you
must comply with that instruction. The probation officer may contact the person and confirm
that you have notified the person about the risk.
13.      You must follow the instructions of the probation officer related to the conditions of
supervision.



Case No. 4:23cr18-01
       Case 4:23-cr-00018-RH-MAF        Document 31       Filed 08/29/23     Page 5 of 8
                                                                                        Page 5 of 8



U.S. PROBATION OFFICE USE ONLY

A U.S. probation officer has instructed me on the conditions specified by the court and has
provided me with a written copy of this judgment containing these conditions. For further
information regarding these conditions, see Overview of Probation and Supervised Release
Conditions, available at: www.uscourts.gov.


Defendant’s Signature_______________________              Date ______________________




Case No. 4:23cr18-01
       Case 4:23-cr-00018-RH-MAF           Document 31       Filed 08/29/23      Page 6 of 8
                                                                                            Page 6 of 8



                       SPECIAL CONDITIONS OF SUPERVISED RELEASE


       The defendant shall also comply with the following additional conditions of supervised
release:

     1. The defendant must serve three months on home detention with location monitoring.
        While on home detention, the defendant must be in the defendant’s residence except for
        absences approved by the probation officer in advance for gainful employment,
        community service, religious services, medical care, education or training, or other
        similar purposes. The technology used for location monitoring is left to the discretion of
        the probation officer. The cost of location monitoring must be paid by the defendant.

     2. The defendant must successfully participate in sex offender‐specific treatment consisting
        of an initial evaluation—by a probation officer or outside provider—and any further
        appropriate treatment. The treatment may include cognitive behavioral therapy.

     3. The defendant must comply with all state and federal sex-offender registry laws.

     4. The defendant must have no contact directly or indirectly with the victim of the instant
        offense without advance approval of the probation officer.




Case No. 4:23cr18-01
       Case 4:23-cr-00018-RH-MAF         Document 31       Filed 08/29/23      Page 7 of 8
                                                                                         Page 7 of 8




Upon a finding of a violation of probation or supervised release, I understand the Court may (1)
revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision.
       These conditions have been read to me. I fully understand the conditions and have
been provided a copy of them.


__________________________________                                 ______________
Defendant                                                          Date




___________________________________                                ______________
U.S. Probation Officer/Designated Witness                          Date




Case No. 4:23cr18-01
       Case 4:23-cr-00018-RH-MAF          Document 31        Filed 08/29/23   Page 8 of 8
                                                                                           Page 8 of 8




                             CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments.

              ASSESSMENT                  JVTA*                  FINE          RESTITUTION
                                       ASSESSMENT
                   $100.00               $5,000.00             $1,000.00             -0-

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.


                                 SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
is due as follows: immediately.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment,
payment of criminal monetary penalties is due during the period of imprisonment. All criminal
monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal
monetary penalties imposed.




Case No. 4:23cr18-01
